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                               Exhibit 8
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JULIE GREENWALD ELEVATED TO
CHAIRMAN & CEO OF NEWLY CREATED
ATLANTIC MUSIC GROUP

NEWS PROVIDED BY
Warner Music Group Corp. 
12 Oct, 2022, 10:00 ET




           Atlantic Music Group Includes Atlantic and 300 Elektra Label Families


NEW YORK, Oct. 12, 2022 /PRNewswire/ -- Music industry leader Julie Greenwald has been
elevated to Chairman & CEO of the newly created Atlantic Music Group. In her new post,
Greenwald oversees Atlantic Records – including the Atlantic, ATCO, Big Beat, and Canvasback
labels – as well as 300 Elektra Entertainment, which encompasses 300, Elektra, Fueled By
Ramen, Roadrunner, Low Country Sound, DTA, and Public Consumption.


                                        Continue Reading


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   Julie Greenwald - Credit Matthew Furman




Greenwald and Craig Kallman will continue to jointly lead Atlantic Records, with Kallman as
Chairman & CEO. Under their leadership, Atlantic has consistently ranked at the top of the
industry. This June saw the creation of 300 Elektra Entertainment, the supergroup of indie-
spirited brands led by Chairman & CEO Kevin Liles. Today, Atlantic Music Group ranks as the No.
1 streaming label group in the U.S. year-to-date for 2022.




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Since     2:23-cv-00576-JRG-RSP
      joining Atlantic 18 years ago,Document
                                    Greenwald26-17 Filed a01/29/24
                                               has built           Page
                                                           reputation as 4an
                                                                           ofartist
                                                                              6 PageID #: 1148
                                                                                    development
powerhouse and inspirational mentor. She has been integral to the careers of emerging talent
and superstars alike, including top artists such as Cardi B, Kelly Clarkson, Coldplay, Cordae,
GAYLE, Jack Harlow, Lil Uzi Vert, Lizzo, Charli XCX, NBA YoungBoy, Gucci Mane, Bruno Mars, Ava
Max, Janelle Monáe, No Cap, Kodak Black, Panic! at the Disco, Paramore, Charlie Puth, Roddy
Ricch, Ed Sheeran, Shinedown, Tiësto, Rob Thomas, Twenty One Pilots, and Wiz Khalifa, among
many others, as well as award-winning projects such as the Original Broadway Cast Recordings
of Hamilton, Dear Evan Hansen, and Jagged Little Pill.


Greenwald has been widely recognized not only for her creative and commercial expertise, but
for her down-to-earth, super-motivating approach. She has been chosen five times as
Billboard's Women in Music Executive of the Year — more than any other person — and
appeared multiple times on the Variety 500 index of the world's most influential business
leaders. Greenwald has also been featured as one of The Hollywood Reporter's "Power 100
Women in Entertainment," Forbes' "Power Women to Watch," and on Newsweek's "Women in
Leadership" roster.


Julie Greenwald said: "I love nurturing the next generation, contributing to culture, and building
vibrant communities for our artists. We have the most fantastic talent at Atlantic, 300, and
Elektra, from superstars to baby bands, from expert execs to young people just starting out in
the business. I want them all to feel that this is the best place to do bold, brave, creative work,
and build real careers. I'm so proud to be in it with them, shoulder to shoulder, every day. I'd
like to thank Craig and Kevin for being my partners, Max and Steve for their leadership, and our
allies across the industry who help us bring great music to the world."


Max Lousada said: "Julie's a force of nature – a fearless champion of original talent, a mentor to
countless artists and executives, and the visionary behind game-changing moves, such as
Atlantic's early embrace of streaming and the spin-off of the Elektra Music Group. She's made
artist development an artform in its own right, by combining passion and intelligence, gut
sense and strategic thinking, the big picture and the smallest detail. This new role only hints at
the full scope of her influence and impact across our industry, but it's still much deserved
recognition of her dynamic leadership at our company."


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He added:                         Document
          "Julie's strengths, combined with26-17
                                           Craig'sFiled 01/29/24 creative
                                                   extraordinary Page 5 oftalents,
                                                                           6 PageID #: 1149
                                                                                   make them
one of the outstanding partnerships in the history of music. We're all extremely fortunate to be
working with them as they write the next great chapter in the Atlantic story."


Greenwald, a New York native, began her music career in 1992 at Def Jam Records. Six years
later, she was charged with overseeing the entire marketing department of the newly formed
Island Def Jam Music Group (IDJ). Greenwald was named President of Island Records/EVP of
IDJ in 2002, becoming one of only three women holding that title at a major record label.



When Greenwald joined Atlantic Records as President in 2004, it marked the second time in
her career that she was charged with helping rebuild an iconic brand. She quickly became the
architect of the company's forward-thinking marketing and digital strategies, revitalizing and
remaking Atlantic's culture for the 21st century and setting it on a course to renewed industry
dominance. In 2009, her accomplishments were recognized with her promotion to Chairman &
COO.


Access accompanying image here.
Photo Credit: Matthew Furman



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